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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

   EMILY SOUSA,                                       )
                                                      )
           Plaintiff,                                 )
                                                      )
           v.                                         )   C.A. No.: 1:21-cv-00717-SB
                                                      )
   AMAZON.COM, INC., AMAZON.COM                       )
   SERVICES LLC, and LAWRENCE                         )
   DORSEY, in his individual and                      )
   professional capacities                            )
                                                      )
           Defendants.                                )


                  MOTION AND ORDER FOR ADMISSION PRO HAC VICE

        Pursuant to Local Rule 83.5 and the attached certification, counsel moves the admission pro

hac vice of Alfredo J. Pelicci, Esq., to represent Plaintiff Emily Sousa in this matter.


                                                              ALLEN & ASSOCIATES

                                                              /s/ Michele D. Allen
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                                 ORDER GRANTING MOTION

        IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.


Date:                                          ____________________________________
                                               Stephanos Bibas
                                               United States Circuit Judge (sitting by designation)
